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                     EXHIBIT 2071
            Plaintiffs’ Motion In Limine for the Court to Deem Authentic Certain
           Photographs and Videos Depicting Defendant Robert “Azzmador” Ray
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        VIDEO EXHIBIT – FILED WITH COURT

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